
983 So.2d 634 (2008)
Richard S. BIEBER, Petitioner,
v.
TOM WINNER GLASS CO. INC. and Bridgefield Employers Insurance Company, Respondents.
No. 1D08-0532.
District Court of Appeal of Florida, First District.
May 12, 2008.
Rehearing Denied June 13, 2008.
Donald Van Dingenen and Charles W. Smith of Van Dingenen, P.A., Winter Park, for Petitioner.
David W. Sackman, III, of Jones, Hurley &amp; Hand, P.A., Orlando, for Respondents.
Walter J. Havers of Office of the Judges of Compensation Claims, for Judge of Compensation Claims Paul T. Terlizzese.
PER CURIAM.
The petition for writ of prohibition is denied on the merits.
LEWIS and HAWKES, JJ., Concur. BROWNING, C.J., Dissents with Written Opinion.
BROWNING, C.J., dissenting.
I would grant the writ of prohibition. It seems to me that the motion to disqualify the Judge of Compensation Claims (JCC) is facially sufficient. The adversarial relationship that has developed between claimant's attorney and the JCC, while unfortunate, *635 gives the claimant ample reason to fear not receiving an impartial ruling from the JCC. The majority opinion "saddles" the claimant with the antithesis of what a litigant should receive: a fair hearing free from substantial doubt concerning a JCC's motivation when deciding an issue. The claimant deserves better here, and I, accordingly, dissent.
